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                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                BRIDGEPORT DIVISION

 In re:                                             Chapter 11

 HO WAN KWOK,                                       Case No: 22-50073 (JAM)

                        Debtor.


 PACIFIC ALLIANCE ASIA OPPORTUNITY Contested Matter [Doc. No. 57]
 FUND, L.P.,

                        Movant,

 v.

 HO WAN KWOK,

                        Respondent.

                                NOTICE OF:
                [PROPOSED] STIPULATED ORDER COMPELLING
          HK INTERNATIONAL FUNDS INVESTMENTS (USA) LIMITED, LLC
      TO TRANSPORT AND DELIVER THAT CERTAIN YACHT, THE “LADY MAY”

          The party-in-interest, HK International Funds Investments (USA) Limited, LLC (“HK

USA”) (“HK USA”), the debtor and debtor-in-possession, Ho Wan Kwok, the Official

Committee of Unsecured Creditors appointed in this case (the “Committee”), and the creditors,

Pacific Alliance Asia Opportunity Fund, L.P. (“PAX”), Rui Ma and Zheng Wu, each by their

respective undersigned counsel, respectfully stipulate and agree to the entry by this Court of that

certain [Proposed] Stipulated Order Compelling HK International Funds Investments (USA)

Limited, LLC to Transport and Deliver that Certain Yacht, The “Lady May” (the “Proposed

Order”) appended hereto as Exhibit 1, thereby resolving that certain Motion of Pacific Alliance

Asia Opportunity Fund L.P. for Entry of an Order Confirming the Inapplicability of the

Automatic Stay or, in the Alternative, Relief from the Automatic Stay Pursuant to Section
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362(D)(2) of the Bankruptcy Code [Doc. No. 57], on the terms and conditions set forth in the

Proposed Order.

         HK USA, by its undersigned counsel, further represents that: (i) all parties to the Escrow

Agreement appended to the Proposed Order as Exhibit A have executed the Escrow Agreement;

and (ii) the escrow funds in the amount of $37 million have been deposited with the escrow

agent.

         Dated this 29th day of April, 2022.

                                               HK INTERNATIONAL FUNDS INVESTMENTS
                                               (USA) LIMITED, LLC


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                                               HO WAN KWOK, DEBTOR AN DEBTOR-IN-
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 29th day of April, 2022, a copy of foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the

Court’s electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice ofElectronic Filing. Parties may access this filing through the Court’s

CM/ECF System.



                                                       /s/ Stephen M. Kindseth
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